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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )             CASE NO. 8:03CR163
                                          )
                      Plaintiff,          )
                                          )
      vs.                                 )                    JUDGMENT
                                          )
JORGE A. ARONJA-INDA,                     )
                                          )
                      Defendant.          )

      For the reasons discussed in the accompanying Memorandum and Order,

      IT IS ORDERED:

      1.     The Defendant’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

Correct Sentence (Filing No. 135) is summarily denied; and

      2.     The Clerk is directed to mail a copy of this Judgment to the Defendant at his

last known address.

      DATED this 12th day of March, 2007.

                                                BY THE COURT:

                                                s/Laurie Smith Camp
                                                United States District Judge
